906 F.2d 396w
    Jenny Lisette FLORES, a minor, by next friend Mario HughGALVEZ-MALDONADO;  Dominga Hernandez-Hernandez, a minor, bynext friend Jose Saul Mira;  Alma Yanira Cruz-Aldama, aminor, by next friend Herman Perililo Tanchez, Plaintiffs-Appellees,v.Edwin MEESE, III;  Immigration &amp; Naturalization Service;Harold Ezell, Defendants-Appellants.
    No. 88-6249.
    United States Court of Appeals,Ninth Circuit.
    Argued and Submitted April 5, 1989.Decided June 20, 1990.
    
      1
      NOTE: THE COURT HAS WITHDRAWN THIS OPINION.  SEE 913 F.2d 1315.
    
    